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UNITED sTATEs oF AMERICA, JON w, S;Er§mwm
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Plaintiff,

v. 7 '- 5 caseNa.ieciJ-é-CR-lé;

[18 U.s.c. § 1709]
MATTHEW M. WILLIAMS,

Defendant.

 

INDICTMENT

 

COUNT ONE
TH:E GRAND JURY cHARGEs THAT:
l. On or about August 3, 2014, in the State and Eastern District of Wisconsin,
MATTHEW M. WILLIAMS,

being a United States Postal Service employee, stole the contents of a Erst class letter, addressed
as described below, which letter and its contents had been entrusted to defendant and which had
come into his possession intended to be conveyed by mail.

2. The letter is more fully described as being addressed to an individual with the
initials “G.S.,” with a mailing address on Grand Avenue in Mayville, IL, and a return address on
W. Juneau Street in Hustisford, WI.

All in violation of Title 18, United States Code, Section 1709. '

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COUNT TWO
THE GRAND JURY FURT]IER CHARGES THAT:
l. On or about August 3, 2014, in the State' and Eastern District of Wisconsin,
MATTHEW M. WILLIAMS,

being a United States Postal Service employee, stole the contents of a first class letter, addressed
as described below, which letter and its contents had been entrusted to defendant and which had
come into his possession intended to be conveyed by mail.

2. The letter is more fully described as being addressed to an individual with the
initials “A.K.,” with a mailing address on Hawks Ridge Drive in Hubertus, WI, and a return
address on E. Evandale Drive in Oak Creek, WI.

All in violation of Title 18, United States'Code, Section 1709.

A TRUE BILL:

Date: /@"lr‘ `/é

 

GREGORY J‘ wifst
United States At)o ey

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